DOCUMENTS UNDER SEAL
                     Case 3:19-cr-00367-CRB Document 363 Filed 03/19/21 Page 117ofmins.
                                                          TOTAL TIME (m ins):
                                                                                   1
M AGISTRATE JUDGE AMENDED                    DEPUTY CLERK                              REPORTER/FTR
M INUTE ORDER                               Rose Maher-by Zoom                         Recorded by Zoom: 11:55-12:12
MAGISTRATE JUDGE                             DATE                                      NEW CASE          CASE NUMBER
Thomas S. Hixson-by Zoom                    3/17/2021                                                  3:19-cr-00367 -1 CRB
                                                        APPEARANCES
DEFENDANT                                    AGE      CUST  P/NP   ATTORNEY FOR DEFENDANT                    PD.       RET.
Eduardo Alfonso Viera-Chirinos-by Zoom                Y         P        Naomi Chung/Hilary Blarney          APPT.
U.S. ATTORNEY                                INTERPRETER                              FIN. AFFT            COUNSEL APPT'D
                                                               sworn
Sailaja Paidipaty-by Zoom                    Daniel Navarro-Spanish-Zoom              SUBMITTED

PROBATION OFFICER             PRETRIAL SERVICES OFFICER                  DEF ELIGIBLE FOR             PARTIAL PAYMENT
                               Sheri Broussard-by Zoom                   APPT'D COUNSEL               OF CJA FEES
                                         PROCEEDINGS SCHEDULED TO OCCUR
       INITIAL APPEAR               PRELIM HRG       MOTION           JUGM'T & SENTG                           STATUS
                                                            held                                               TRIAL SET
       I.D. COUNSEL                 ARRAIGNMENT              BOND HEARING              IA REV PROB. or         OTHER
                                                                                       or S/R
       DETENTION HRG                ID / REMOV HRG           CHANGE PLEA               PROB. REVOC.            ATTY APPT
                                                                                                               HEARING
                                                        INITIAL APPEARANCE
        ADVISED                   ADVISED                    NAME AS CHARGED             TRUE NAME:
        OF RIGHTS                 OF CHARGES                 IS TRUE NAME
                                                          ARRAIGNM ENT
       ARRAIGNED ON                  ARRAIGNED ON               READING W AIVED             W AIVER OF INDICTMENT FILED
       INFORMATION                   INDICTMENT                 SUBSTANCE
                                                            RELEASE
      RELEASED             ISSUED                       AMT OF SECURITY          SPECIAL NOTES             PASSPORT
      ON O/R               APPEARANCE BOND              $                                                  SURRENDERED
                                                                                                           DATE:
PROPERTY TO BE POSTED                             CORPORATE SECURITY                       REAL PROPERTY:
    CASH    $


      MOTION           PRETRIAL                  DETAINED           RELEASED         DETENTION HEARING          REMANDED
      FOR              SERVICES                                                      AND FORMAL FINDINGS        TO CUSTODY
      DETENTION        REPORT                                                        W AIVED
ORDER REMOVED TO THE DISTRICT OF
                                                               PLEA
    CONSENT                       NOT GUILTY                  GUILTY                    GUILTY TO COUNTS:
    ENTERED
    PRESENTENCE                   CHANGE OF PLEA              PLEA AGREEMENT            OTHER:
    REPORT ORDERED                                            FILED
                                                          CONTINUANCE
TO:                                ATTY APPT                 BOND                     STATUS RE:
3/31/2021-prev set                 HEARING                   HEARING                  CONSENT                TRIAL SET

AT:                                SUBMIT FINAN.               PRELIMINARY            CHANGE OF             STATUS
                                   AFFIDAVIT                   HEARING                PLEA
10:00 am by Zoom                                               _____________
BEFORE HON.                        DETENTION                   ARRAIGNMENT             MOTIONS               JUDGMENT &
                                   HEARING                                                                   SENTENCING
Charles R. Breyer
       TIME W AIVED                TIME EXCLUDABLE             IDENTITY /             PRETRIAL               PROB/SUP REV.
                                   UNDER 18 § USC              REMOVAL                CONFERENCE             HEARING
                                   3161                        HEARING
                                                   ADDITIONAL PROCEEDINGS
Def. present and consents to hearing by Zoom. Mot. for Reconsideration held, proffer heard, matter submitted. Court ruled:
Motion for Reconsideration DENIED, as to Defendant being risk of flight. Court ordered Govt. to submit written Order for
signature.
Note: This Amended Minute order corrects def's counsel as retained not CJA counsel         DOCUMENT NUMBER:
